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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


 IN RE: ORAL PHENYLEPHRINE
 MARKETING AND SALES PRACTICES                        MDL No. 3089
 LITIGATION                                           Case No. 1:23-md-3089-BMC

 This document relates to:                            NOTICE OF WITHDRAWAL OF
                                                      APPEARANCE OF
                                                      YUQING MIN
 Kenneth Levi Pack, et al. v. Johnson & Johnson
 Consumer Companies, Inc. et al., No. 1:23-cv-
 09057

 William Bryan, et al. v. Johnson & Johnson
 Consumer, Inc., et al., No. 1:24-cv-00040

 Christopher McPhee, et al. v. Johnson &
 Johnson Consumer, Inc., et al., No. 1:23-cv-
 09262

 Richard Chavez, et al. v. Johnson & Johnson
 Consumer, Inc., et al., No. 1:23-cv-09304

 Izabel Pena-Venegas, et al. v. Johnson &
 Johnson Consumer, Inc., et al., No. 1:24-cv-
 00041

 Abby Jergins, et al. v. Johnson & Johnson
 Consumer, Inc., et al., No. 1:24-cv-00043
 Rethea Morris, et al. v. Johnson & Johnson
 Consumer, Inc., et al., No. 1:24-cv-00269
 _______________________________________


 TO THE CLERK OF COURT:

       PLEASE TAKE NOTICE THAT YuQing Min hereby withdraws her appearance as

 an attorney for all plaintiffs including in the following matters:

       Kenneth Levi Pack, et al. v. Johnson & Johnson Consumer Companies, Inc. et al.,
       No. 1:23-cv-09057




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 William Bryan, et al. v. Johnson & Johnson Consumer, Inc., et al., No. 1:24-cv-00040



 Christopher McPhee, et al. v. Johnson & Johnson Consumer, Inc., et al., No. 1:23-cv-09262



 Richard Chavez, et al. v. Johnson & Johnson Consumer, Inc., et al., No. 1:23-cv-09304



 Izabel Pena-Venegas, et al. v. Johnson & Johnson Consumer, Inc., et al., No. 1:24-cv-00041



 Abby Jergins, et al. v. Johnson & Johnson Consumer, Inc., et al., No. 1:24-cv-00043



 Rethea Morris, et al. v. Johnson & Johnson Consumer, Inc., et al., No. 1:24-cv-00269




 Dated: July 16, 2024                       Respectfully submitted,

                                            SINGLETON SCHREIBER, LLP


                                            By: /s/ YuQing Min
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 16, 2024, I electronically filed the foregoing document

 with the Clerk of the Court using the CM/ECF system which will send notification of such

 filing to all attorneys of record.


                                                     /s/ YuQing Min
                                                     YuQing Min




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